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                                                                                                     U.S. BANKRUPTCY COURT

                                                                                                 NORTHERN DISTRICT OF TEXAS


                                                                                                     ENTERED
                                                                                                  TAWANA C. MARSHALL, CLERK
                                                                                                     THE DATE OF ENTRY IS
                                                                                                    ON THE COURT'S DOCKET


The following constitutes the ruling of the court and has the force and effect therein described.



Signed October 14, 2014
                                           United States Bankruptcy Judge
 ______________________________________________________________________



                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                         DALLAS DIVISION

                                                              §
         IN RE:                                               §       CASE NO. 14-30699-11
                                                              §
         BUFFET PARTNERS, L.P., et al. 1                      §       CHAPTER 11
                                                              §
               DEBTORS.                                       §       Jointly Administered
                                                              §

                   ORDER GRANTING DEBTORS’ MOTION TO AMEND ORDER
               (A) APPROVING THE SALE OF SUBSTANTIALLY ALL ASSETS AND
             (B) AUTHORIZING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
                    EXECUTORY CONTRACTS [DKT NO. 364] TO ALLOW FOR
                 THE ASSUMPTION AND ASSIGNMENT OF DEBTORS’ 401K PLAN
                                 [Relates to Docket No. 584]

              Upon the motion (the “Motion”) 2 of the above-captioned debtors and debtors in

     possession (the “Debtors”) to amend the Order (A) Approving the Sale of Substantially All Assets

     and (B) Authorizing the Assumption and Assignment of Certain Executory Contracts [Dkt. No.

     364] (the “Sale Order”), to allow for the assumption and assignment of the Debtors’ 401k plan;


     1
      The Debtors in these chapter 11 cases are Buffet Partners, L.P. and Buffet G.P., Inc.
     2
      Each capitalized term used, but not otherwise defined herein, shall have the meaning ascribed to such term in the
     Motion.


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the Court having reviewed the Motion and the Amendment No. 3 to Purchase Agreement

attached thereto as Exhibit A; the Court finding that: (a) the Court has jurisdiction over this

matter pursuant to 28 U.S.C. §§ 157 and 1334; (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); and (c) notice of the Motion given by the Debtors was sufficient under the

circumstances; and the Court being fully advised in the premises and having determined that the

legal and factual bases set forth in the Motion establish just cause for the relief herein granted,

and after due deliberation and cause appearing therefor, it is HEREBY ORDERED that:

        1.         The Motion is granted as set forth herein.

        2.         The Debtors are authorized to assume and assign the Debtors’ 401k Plan to the

Purchaser.

        3.         Paragraph 27 of the Sale Order is deleted, and the provisions of paragraph 27 of

the Sale Order are deemed null and void.

        4.         The Debtors are authorized and empowered to take all actions necessary to

implement the relief granted in this Order.

        5.         The Court shall retain jurisdiction over any matter or dispute arising from or

relating to the implementation of this Order.

        6.         All relief not expressly granted in this order is denied.

                                       # # # END OF ORDER # # #




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